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AFFIDAVIT OF SERVICE

State of NY County of NEW YORK United States District Court
Case Number: 1:19-C\V-4473

Plaintiff:
MINGHAO YANG

vs.

Defendant:
WU RESTAURANT LLC & YING WANG

Received by DJ&H PROCESS SERVICE INC. to be served on YING WANG, 136-55 37TH AVENUE, FLUSHING, NY 11354.

|, JULES DOODNATH, being duly sworn, depose and say that on the 1st day of October, 2019 at 3:12 pm, I:

Served a true copy of the SUMMONS IN A CIVIL ACTION AND COMPLAINT JURY TRIAL DEMANDED & CIVIL COVER SHEET, to JANE DOE
(REFUSE NAME) (OFICE ASSISTANT) who accepted service on behalf of YING WANG at the address of 136-55 37TH AVENUE, FLUSHING, NY
11354, which is the respondent's place of business.

Deponent completed service by mailing a true copy of the above mentioned documents to YIJING WANG to the respondent's place of business at
4136-55 37TH AVENUE, FLUSHING, NY 11354 by depositing the same enclosed post-paid envelope, bearing the words "Personal & Confidential" by
Regular First Class Mail with Certificate of Mailing in an official depository of the U.S.P.S. within the State of New York on 10/2/2019.

Description of Person Served: Age: 30, Sex: F, Race/Skin Color: Asian, Height: 5'0", Weight: 100, Hair: Black, Glasses: N

| Jules Doodnath, being duly sworn, deposed and says: That deponent is not a party of this action, is a Licensed Process Server over the age of
eighteen years and resides in Queens County, New York.

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Sworn to me on this date: 10/02/2019

 

JULES DOODNATH
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NOFARY PUBLIC. Sisto OF 111-13 115th Street
Ne. O1ADEO4190" | qr South Ozone Park, NY 11420
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